             Case 2:21-cv-04877-KSM Document 5 Filed 11/10/21 Page 1 of 2




                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA


 STRIKE 3 HOLDINGS, LLC,                                     CIVIL ACTION

        Plaintiff,
                                                             NO. 21-4877-KSM
        v.

 JOHN DOE, subscriber assigned IP address
 98.114.12.52,

         Defendant.



                                              ORDER

       AND NOW, this 10th day of November, 2021, upon consideration of Plaintiff’s Motion

for Leave to Serve a Third-Party Subpoena Prior to a Rule 26(f) Conference (Doc. No. 3), it is

ORDERED that the Motion is GRANTED as follows:

       1.       Plaintiff may serve the ISP with a Rule 45 subpoena commanding the ISP to

provide Plaintiff with the true name and address of the individual to whom the ISP assigned an

IP address as set forth in Exhibit A of the Complaint. Plaintiff shall attach a copy of this Order

to any subpoena.

       2.       The ISP will have 21 days from the date of service of the Rule 45 subpoena to

serve the subscriber with a copy of the subpoena and a copy of this Order. The ISP may serve

the subscriber using any reasonable means, including written notice sent to his or her last known

address via first-class mail or overnight service.

       3.       The subscriber shall have 21 days from the date of service of the Rule 45

subpoena to file any motions with the Court contesting the subpoena (including a motion to

quash or modify the subpoena or a motion for protective order). If the subscriber challenges the
             Case 2:21-cv-04877-KSM Document 5 Filed 11/10/21 Page 2 of 2




subpoena, he shall inform the ISP so that the ISP is on notice not to release any of the

subscriber’s contact information until the Court rules on the motion. The ISP may not turn over

the subscriber’s identifying information to Plaintiff before the expiration of this 21-day period.

In addition, if the subscriber or the ISP files a motion to quash the subpoena, the ISP shall not

produce any information to Plaintiff until the issues have been addressed, and the Court issues an

order instructing the ISP to resume production of the requested discovery.

        4.      The ISP shall preserve the subpoenaed information pending the resolution of any

timely-filed motion to quash.

        5.      If the 21-day period lapses without the subscriber or the ISP contesting the

subpoena, the ISP shall have 10 days to produce the information responsive to the subpoena to

Plaintiff.

        6.      Any information ultimately disclosed to Plaintiff in response to a Rule 45

subpoena may be used by Plaintiff solely for the purpose of protecting Plaintiff’s rights as set

forth in its complaint.

IT IS SO ORDERED.

                                                      /s/Karen Spencer Marston
                                                      ______________________________
                                                      KAREN SPENCER MARSTON, J.




                                                 2
